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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv. Criminal No. 19-cr-18-ABJ
ROGER J. STONE, JR., (Filed Under Seal)

Defendant.

 

GOVERNMENT?’S OPPOSITION TO DEFENDANT ROGER J. STONE’S
MOTION TO OPEN THE HEARING IN SUPPORT OF AMENDED

MOTION FOR NEW TRIAL (ECF NO. 332)

The defendant, Roger J. Stone, seeks to open the hearing on his Amended Motion for New
Trial alleging misconduct by an individual juror. Just as the defendant’s recent disqualification
motion (ECF No. 331) “appears to be nothing more than an attempt to use the Court’s docket to
disseminate a statement for public consumption that has the words ‘judge’ and ‘biased’ in it”, ECF
No. 333 at 6, this motion appears to be nothing more than an attempt to fuel its public campaign
to undermine the jury’s verdict through a frivolous juror misconduct claim. Compromising the
privacy of one or all 12 of the citizens who performed the vital civic duty of serving as trial jurors
is not necessary to protect the defendant’s and the public’s right to an open proceeding. Rather,
the right to an open proceeding can be protected by swiftly publishing redacted pleadings,
transcripts, and orders, much like this Court already set out to do with respect to the first new trial
motion. See ECF No. 288. What is more, the Court and parties can and should reevaluate the
need and scope of sealing as the proceedings carry on and evaluate whether even less restrictive
measures are appropriate. The motion to open the hearing should be denied.

As the defense acknowledges in its motion (at 3), jury selection in this trial was for the

most part public, occurring in an open courtroom with juror identities and privacy rights protected
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by (1) the assignment of a number, (2) the sealing of juror questionnaires, and (3) individualized

voir dite occuring at the bench,
es eee | That procedure was appropriate under the circumstances

and supported by applicable law, as it limited access to private information about jurors in a
manner no broader than necessary to ensure the defendant’s Sixth Amendment rights to a fair and
impartial jury and public trial. See United States v. Aguiar, 894 F.3d 351, 355 (D.C. Cir, 2018);
see also United States v. Bruno, 700 F. Supp. 2d 175, 182 (N.D.N.Y. 2010) (“The interest in
protecting jurors’ privacy rights strengthens the integrity of our justice system by assuring their
tights to safety and privacy and by encouraging candor of impaneled and prospective jurors and
future venire.”) (citing United States v. King, 140 F.3d 76, 79 (2d Cir. 1998)). The defendant’s
new trial motion, however, is not the trial of the case—it is, essentially, an ancillary proceeding to
which his Sixth Amendment right to a public trial is not squarely at stake. The right of access to
the public at large, however, unquestionably remains at issue.

The only reason the defense puts forth (at 3) for altering in these post-trial proceedings the
well-reasoned course this Court took during pre-trial voir dire, is that Juror 1. who is the subject
of the defense new trial motion, “publicly disclosed her role in the trial.” But the defense cites no
authority—because there is none—for the broad proposition that a juror’s post-trial statements
automatically necessitates that the Court reveal a juror’s identity and other personal information
where there otherwise exists good cause to keep it private. Moreover, the defense position ignores

the fact that a hearing on the motion could implicate the privacy interests of other jurors as well,
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whom this Court has ordered to appear in the event the Court deems it necessary to question them. !
Even if the defense were correct—which it is not—that Juror ms | public statements should
result in disclosure of her identity and other personal information, that argument would not extend

to the other 11 citizens on the jury.

=a In light of i the public attention surrounding this trial, the risk that opening

the hearing will have to further publicizing Juror identity, other personal information, and

role in the case is sound justification for keeping the hearing closed—irrespective of Juror

previous decision to disclose her role as a juror in the trial. Cf United States v. Edmond, 52 F.3d
1080, 1090-92 (D.C. Cir. 1995) (affirming district court’s decision to impanel anonymous jury as
necessary to protect jurors’ interest in remaining free from real or perceived threats).

The defense motion entirely ignores the availability of a reasonable measure available to
protect both the jurors’ interest in privacy and the right of public access to these proceedings.
Publishing redacted copies of the pleadings, ttansetipts, and orders related to the motion, as the

Court has already begun to do with respect to the first new trial motion, see ECF No. 288, strikes

 

' As set forth in our opposition to the new trial motion (ECF No. 311), the Government
opposes an evidentiary hearing. The defense new trial motion fails to allege newly discovered
evidence rebutting Furor veracity during voir dire, and its claim that she violated the Court’s
social media order is rooted in a baseless conspiracy theory. Neither Juror nor the 11 other
citizens who served on the jury should be subjected to additional questioning. The new trial motion
should be denied on the papers.
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the right balance between the jurors’ interest in privacy and the defendant’s and public’s interest
in an open proceeding. Pleadings and transcripts are capable of being redacted to eliminate
references to information that risks revealing jurors’ identities while still affording the public
complete access to the subject of the defense’s motion and the basis for the Court’s eventual
decision. Additionally, the Court and parties can and should reevaluate as the proceedings carry
on whether less restrictive measures would adequately protect the privacy of jurors while affording
sufficient public access to the proceedings—a subject the parties and Court can take up at this
Tuesday’s sealed hearing and in the future.

The current defense posture on this motion—especially in light of the baseless motion to
disqualify it filed Friday night, see ECF Nos. 331, 333—treflects more gamesmanship than
conviction. The motion is inconsistent with the redactions the defense has already proposed to its
new trial motion (ECF No. 318). As the Government noted in the cover pleading to our proposed
redactions (ECF No. 320), the defense’s proposed redactions are under-inclusive and over-
inclusive. The proposed redactions are under-inclusive insofar as there remain references that risk
betraying Juror identity; and they are over-inclusive insofar as the redactions conceal the
information Juror fe] disclosed in voir dire and hide what questions the defense asked of Juror
a. The defense proposal would thereby release to the public partial information fueling a
conspiracy-laden narrative that the jury in this case was hijacked, while keeping secret the fact that
the information regarding Juror political affiliation and viewpoint, about which the defense
now complains, was disclosed in the juror’s questionnaire and was the subject of individual voir
dire. The strategy behind the defense tactic of filing this motion is all the more clear from the fact

that it did not also move to fully unseal the proceedings related to its first new trial motion.
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The Government cannot help but note the obvious fact that the defense motion to open the
hearing on its juror misconduct claim presents a strategic windfall with respect to its public
campaign to undermine confidence in the jury’s verdict. A court order keeping the hearing closed
will inevitably fuel conspiracy theories that the defendant’s prosecution was politically motivated
and that his conviction came at the hands of a biased judge and hijacked jury. Nonetheless, keeping
the hearing closed is fully supported by the law and is the right thing to do. Private citizens who
serve as jurors under circumstances as difficult as those presented in this case are entitled to privacy
and security. And the public interest in understanding and evaluating the defense’s claim is
sufficiently promoted by publishing redacted pleadings, transcripts, and orders. The motion should
be denied.

Respectfully submitted,
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CERTIFICATE OF SERVICE

I hereby certify that the forégoing sealed pleading was served via email to counsel for the

defendant, Roger J. Stone, on February 24, 2020.

/s/ J.P. Cooney

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